     Case
  Case    8-20-08049-ast
       8-20-08049-ast                Doc
                                      Doc20
                                          18 Filed  05/26/21
                                                Filed 05/21/21Entered 05/26/21
                                                                 Entered       13:59:58
                                                                         05/21/21 15:08:40




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                             Chapter 11
 ORION HEALTHCORP, INC. et al.,

                          Debtors.                           Case No. 18-71748 (AST)
 HOWARD M. EHRENBERG, IN HIS
 CAPACITY AS LIQUIDATING TRUSTEE OF
 ORION HEALTHCORP, INC., ET AL.,

                          Plaintiff,                         Adv. Proc. No. 20-08049 (AST)
 v.

 ARVIND WALIA; NIKNIM MANAGEMENT
 INC.,

                          Defendants.

      STIPULATION AND ORDER RE FILING OF FIRST AMENDED COMPLAINT;
                   AND ENTERING OF SCHEDULING ORDER

          Plaintiff, Howard Ehrenberg, in his capacity as Liquidating Trustee of Orion Healthcare,

Inc. (the “Plaintiff”) and Defendants Arvind Walia and NIKNIM Management, Inc. (the

“Defendants”), by and through their undersigned counsel of record (collectively Plaintiff and

Defendants are referred to as the “Parties”), submit the following stipulation for the

consideration by the Court (the “Stipulation”):

          1.     On March 13, 2020, Plaintiff filed the complaint [Dkt. No. 1] against Defendants.

          2.     On June 17, 2020 Defendant filed its Answer to Affirmative Defenses to the

complaint [Dkt. No. 6].

          3.     Pursuant to the October 15, 2020 hearing in this matter, as consented to in the

Stipulation Of Counsel, the parties in the above-captioned adversary proceeding (the “Adversary

Proceeding”), submitted an Amended Discovery Plan to the Adversary Proceeding. The

Amended Discovery Plan was not entered by the Court [Dkt. No. 10].
      Case 8-20-08049-ast        Doc 20     Filed 05/26/21     Entered 05/26/21 13:59:58




        4.      On January 21, 2021, Plaintiff and Defendants appeared at a Pretrial Conference

in Adversary Proceeding. At that time, the Parties discussed the Adversary Proceeding and

advised the Court Plaintiff would amend the Complaint by Stipulation and the parties would

thereafter submit a joint Proposed Scheduling Order for the Court’s consideration to be entered.

Thereafter, Plaintiff circulated a First Amended Complaint. The Parties subsequently met and

conferred regarding an opposition to the amendment. The Parties have meet and conferred and

resolved any issues.

        5.      Attached to Docket Item 18 as Exhibit “1” is the First Amended Complaint For

Avoidance and Recovery of (1) Fraudulent Transfers; (2) Preferential Transfers; (3) Recovery of

Avoided Transfers, and (4) Objection to Claim No. 10067 Pursuant to 11U.S.C. §§502, 544, 547,

548, and 550 (the “First Amended Complaint”), which is deemed served as of the date of the

filing of the Stipulation.

        6.      Defendant has twenty days from service to file an answer to the First Amended

Complaint.

        7.      The Parties hereto agree to the following scheduling order for the expeditious

conducting of discovery in accordance with Fed. R. Civ. P. 16(b) and 26(f).

        8.      Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no

later than fourteen (14) days from the date of this Order, to the extent the disclosures have not

already been made.

        9.      The Parties have met and conferred regarding documents maintained in

electronic format. Plaintiff has identified the issue of the Debtors’ servers, some of which

have been coded into a searchable format while others which would require additional time




                                                -2-
      Case 8-20-08049-ast        Doc 20      Filed 05/26/21     Entered 05/26/21 13:59:58




and expenditures. Defendant has identified no potential issue. The parties will cooperate to

facilitate the exchange of relevant evidence stored in any electronic format.

       10.     All fact discovery shall be completed no later than September 20, 2021. The

parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure

("Civil Rules"), Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules") and the Local

Rules of the Bankruptcy Court for the Eastern District of New York ("Local Bankruptcy

Rules"). The parties anticipate discovery on the subject transfers, product and services

rendered, and the surrounding business dealings.

       11.     All expert discovery shall be completed no later than November 30, 2021.

       12.     No later than September 30, 2021: (i) the party bearing the burden of proof on

any issue (including the issue of solvency, to the extent the Defendant intends to challenge the

statutory presumption of insolvency) shall make all disclosures required under Fed. R. Civ. P.

26 (a)(2); and (ii) all rebuttal or responsive expert reports and other disclosures required under

Fed. R. Civ. P. 26 (a)(2) shall be made no later than thirty (30) days thereafter.

       13.     Mediation

       If the parties desire and agree to mediate their dispute(s) at any time during pendency of

this adversary proceeding, they shall jointly file a stipulation (the “Stipulation”) with the Court.

       14.     Motions

       All motions and applications shall be governed by the Civil Rules, Bankruptcy Rules

and Local Bankruptcy Rules, including pre-motion conference requirements. Pursuant to the

authority provided by Fed. R. Civ. P. 16(b)(2), a motion for summary judgment will be

deemed untimely unless a request for a pre-motion conference relating thereto (see Local




                                                 -3-
      Case 8-20-08049-ast       Doc 20      Filed 05/26/21    Entered 05/26/21 13:59:58




Bankruptcy Rule 7056-1) is made in writing within fourteen (14) days after the close of fact

discovery (see paragraph 3 hereof).

       15.     Trial

The Court will adjourn the Pre-trial Conference to August 5, 2021, at 2:00 P.M. (Eastern),

which time the Court may set the trial date and deadline to file the Joint Pretrial Order.

       16.     This ORDER may not be modified or the dates herein extended, except by

further Order of this Court for good cause shown. Any application to modify or extend any

deadline established by this Order shall be made in a written application no less than five (5)

days prior to the expiration of the date sought to be extended.

Dated: May 21, 2021                                   Dated: May 21, 2021

PACHULSKI STANG ZIEHL & JONES LLP                    ROSEN & ASSOCIATES, P.C.
Counsel to Plaintiff Howard M. Ehrenberg, in his     Counsel to Defendants, Arvind Walia and
capacity of Liquidating Trustee of Orion             Niknim Management Inc.
Healthcorp, Inc., et al

By: /s/ Jeffery P. Nolan                              By: /s/ Sanford P. Rosen
   Ilan D. Scharf, Esq.                                  Sanford P. Rosen, Esq.
   Jeffery P. Nolan, Esq., (Pro Hac Vice)                Paris Gyparakis, Esq.
   780 Third Avenue, 34th Floor                          747 Third Avenue
   New York, NY 10017                                    New York, NY 10017-2803
   Tel: (212) 561-7700                                   (212) 223-1100
   Email: ischarf@pszjlaw.com

SO ORDERED:




                                                             ____________________________
 Dated: May 26, 2021                                                   Alan S. Trust
        Central Islip, New York                            Chief United States Bankruptcy Judge

                                               -4-
